        Case 1:25-cv-00429-TSC         Document 61        Filed 03/12/25      Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW MEXICO, et al.

                 Plaintiffs,

         v.                                                   Civil Action No. 25-cv-429 (TSC)

 ELON MUSK, et al.

                 Defendants.


                                            ORDER

        For the reasons set forth in the accompanying Memorandum Opinion, ECF No. 60,

Plaintiffs’ Motion for Expedited Discovery, ECF No. 45, is GRANTED in part and DENIED in

part.

        It is hereby ORDERED that Plaintiffs may serve the written discovery requests attached to

their Motion as Exhibit A, ECF No. 45-1 (“Plaintiffs’ Discovery Requests”), on Defendants Elon

Musk, U.S. Department of Government Efficiency (“DOGE”) Service, and U.S. DOGE

Temporary Organization, subject to the below clarifications and amendments:

           •   Plaintiffs’ Discovery Requests shall not apply to President Trump;

           •   Plaintiffs’ Discovery Requests shall be limited to information and materials
               regarding agencies, employees, contracts, grants, federal funding, legal agreements,
               databases, or data management systems that involve or engage with Plaintiff States,
               including entities and institutions operated or funded by Plaintiff States;

           •   “Recommended” and “recommendation” shall be deleted from Plaintiffs’ Fourth
               Interrogatory and replaced with “directed” and “direction.”

        It is further ORDERED that Defendants Elon Musk, U.S. DOGE Service, and U.S. DOGE

Temporary Organization shall produce the requested documents and respond to the interrogatories

and requests for admissions in Plaintiffs’ Discovery Requests, as amended by the court, within 21

                                           Page 1 of 2
       Case 1:25-cv-00429-TSC         Document 61       Filed 03/12/25        Page 2 of 2




days of this Order. Defendants’ request for a stay of any order granting expedited discovery is

DENIED.

       It is further ORDERED that Plaintiffs’ request to notice two depositions is DENIED

without prejudice.

       It is further ORDERED that Plaintiffs’ forthcoming motion for a preliminary injunction

shall be CONSOLIDATED with a hearing on the merits under Federal Rule of Civil Procedure

65(a)(2).



Date: March 12, 2025

                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge




                                         Page 2 of 2
